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                      UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF FLORIDA
                           Case No.: 20-CV-21457-WILLIAMS

  ANTHONY SWAIN, et al.,

        Plaintiffs,
  v.

  MIAMI-DADE COUNTY, FLORIDA, et al.,

       Defendants.
  _____________________________________/

                            AMENDED SCHEDULING ORDER

        THIS MATTER is before the Court following the telephonic status conferences held

  on April 13, 2020. The Court orders as follows:

        1.      The telephonic hearing on Plaintiff’s Emergency Motion for Preliminary

  Injunction (DE 3) is RESET to April 27, 2020 at 1:00 PM. In consultation with the Parties,

  having made an assessment as to the time needed to review relevant evidence, and in

  light of the ongoing circumstances surrounding the COVID-19 pandemic, the Court finds

  good cause pursuant to Federal Rule of Civil Procedure 65(b)(2) to extend the Temporary

  Restraining Order entered on April 7, 2020 (DE 25) through April 27, 2020 at 7:00 PM.

        2.      Defendants’ Response to the Emergency Motion (DE 3) shall be filed on

  April 21, 2020 by 3:00 PM.

        3.      Plaintiff’s Reply to the Emergency Motion (DE 3) shall be filed on April 25,

  2020 by 3:00 PM.

        4.      An inspection shall take place of the Metro West Detention Center

  (“MWDC”) prior to or on April 18, 2020. The inspection will be conducted simultaneously

  by Dr. Hansel Emory Tookes and Dr. Dushyantha Thilak Jayaweera. The inspectors shall



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  provide a report to the Parties and the Court by April 20, 2020 at 12:00 PM. The report

  shall be filed under seal until a redacted version that does not include photographs or

  video depicting the Metro West Detention Center can be publicly filed. The report shall

  include factual information, photographs and/or video, documenting whether and to what

  extent the steps outlined in the Temporary Restraining Order (DE 25) and Notice of

  Compliance (DE 30) have been taken. The inspection shall be completed within a three-

  hour time frame and shall include the following areas:

     •   All housing units where the seven named Plaintiffs are housed;

     •   Housing units where quarantined inmates are being held;

     •   The ingress/egress staff screenings;

     •   Medical facilities;

     •   Dining facilities;

     •   Laundry facilities;

     •   Shower/bathroom facilities; and

     •   Areas where cleaning supplies and personal protective equipment are maintained.

  The inspectors’ reports shall include, among other information they deem necessary, any

  information they were able to ascertain regarding the following:

     •   Cleanliness of the housing units;

     •   Social distancing measures;

     •   Cleanliness of and access to medical, laundry and dining facilities;

     •   Cleanliness of and access to shower/bathroom facilities;

     •   Availability and stock of cleaning supplies and personal protective equipment; and

     •   Availability and stock of hygienic and disinfecting supplies.


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  No attorney for either side shall attend the inspection. MWDC shall assign one or more

  individuals to accompany the inspectors and shall take photographs or videos at the

  direction of the inspectors. No other photographs or videos will be taken during the

  inspection, nor will any equipment for such recordings be allowed inside MWDC.

         5.     Any videos or photographs of the Metro West shall be kept confidential by

  all attorneys on this case and shall not be used for any purpose other than this litigation

  and shall not be provided to any third-party or inmate absent leave of the Court. All videos

  or photographs of Metro West shall be filed under seal.

         6.     Defendants shall file under seal the information previously provided to the

  State Attorney and Public Defender regarding individuals with chronic illnesses or who

  are over 60 years of age residing at Metro West Detention Center by April 15, 2020.

         7.     Defendants shall also supplement this information by providing diagnosis,

  charges, bond amount, and any holds, by April 22, 2020 for the individuals listed in the

  Defendants’ prior filing (DE 29).

         8.     On April 16, 2020, and every three days going forward, Defendants shall

  file a notice with the Court listing the number of inmates and staff tested for COVID-19 at

  Metro West Detention Center, including the number whose test results were positive as

  of that date. Defendants shall also provide information as to the number of inmates who

  are being quarantined each day and shall specify the numbers of individuals who: (1) are

  being quarantined as a result of exhibiting COVID-19 symptoms, and (2) are being

  quarantined as a result of possible exposure to another individual who has COVID-19.

  Defendants need not provide personal identifying information for any of these individuals.




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          DONE AND ORDERED in Chambers, in Miami, Florida, this 14th day of April,

  2020.




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